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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:09−cr−01058
                                                       Honorable Matthew F. Kennelly

                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 18, 2015:


       MINUTE entry before the Honorable Matthew F. Kennelly: Defendant Rogelio
Barajas' unopposed motion for early termination of supervised release is granted [52].
Defendant's term of supervised release is terminated, effective immediately. The motion
hearing date of 8/19/2015 is vacated. Mailed notice. (pjg, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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